20-11811-scc         Doc 23       Filed 08/13/21 Entered 08/13/21 13:19:10                     Main Document
                                               Pg 1 of 3




    David A. Pisciotta
    Alissa K. Piccione
    TROUTMAN PEPPER HAMILTON
    SANDERS LLP
    875 Third Avenue
    New York, NY 10022
    Tel: (212) 704-6000
    Fax: (212) 704-6288
    Email: David.Pisciotta@troutman.com
           Alissa.Piccione@troutman.com

Counsel to the Ad Hoc Noteholders Group

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                             Chapter 15

Grupo Famsa S.A.B. de C.V.,
                                                                   Case No. 20-11811 (SCC)
Foreign Debtor.1




                            NOTICE OF APPEARANCE AND
                     REQUEST FOR SERVICE OF NOTICES AND PAPERS

         PLEASE TAKE NOTICE that, pursuant to Rules 2002 and 9010(b) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), the Ad Hoc Group of Certain Holders of

9.75% Senior Secured Notes due 2024 and issued by Grupo Famsa S.A.B. de C.V. (the “Ad Hoc

Noteholders Group”), through its counsel, Troutman Pepper Hamilton Sanders LLP, hereby

appears in the above-captioned chapter 15 case and requests that all notices given or required to




1
 The last four digits of the Foreign Debtor’s Mexican federal tax identification number are 5267. The location of the
corporate headquarters and the service address for the Foreign Debtor is Avenida Pino Suárez 1202 Norte, Piso 3,
Unidad “A”, Zona Centro, 64000 Monterrey, Nuevo León, Mexico.


118551806v1
20-11811-scc       Doc 23     Filed 08/13/21 Entered 08/13/21 13:19:10              Main Document
                                           Pg 2 of 3



be given and all papers served or required to be served in this case and/or related proceedings also

be served at the following addresses:

                                        David A. Pisciotta
                                        Alissa K. Piccione
                                        TROUTMAN PEPPER
                                        HAMILTON SANDERS LLP
                                        875 Third Avenue
                                        New York, New York 10022
                                        Tel: (212) 704-6000
                                        Fax: (212) 704-6288
                                        Email: David.Pisciotta@troutman.com
                                                Alissa.Piccione@troutman.com
                                                Famsanoticing@troutman.com

                                        -with a copy to-

                                        Ronald R. Jewell
                                        C/O TROUTMAN PEPPER
                                        HAMILTON SANDERS LLP
                                        875 Third Avenue
                                        New York, New York 10022
                                        Tel: (646) 919-0762
                                        Fax: (845) 414-3426
                                        Email: rrjewell1949@outlook.com

        PLEASE TAKE FURTHER NOTICE that the foregoing request also includes, without

limitation, any notice, application, proposed order, complaint, demand, hearing, motion, petition,

pleading, or request, whether formal or informal, whether oral or written, and whether transmitted

or conveyed by mail, delivery, telephone, telegraphic, telex, or otherwise filed that may affect or

seek to affect the above-captioned Foreign Debtor or its property.

        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Notices and Papers or any subsequent appearance, pleading, claim, or suit shall not be

deemed or construed to be a waiver of (i) the right to have final orders in non-core matters entered

only after a de novo review by a District Court Judge; (ii) the right to have all core matters heard

and decided by a District Court Judge; (iii) the right to trial by jury in any proceeding so triable in


                                                  2
118551806v1
20-11811-scc      Doc 23     Filed 08/13/21 Entered 08/13/21 13:19:10            Main Document
                                          Pg 3 of 3



this case or related matter; (iv) the right to have the reference withdrawn by the District Court in

any matter subject to mandatory or discretionary withdrawal; or (v) any other rights, claims,

actions, defenses, setoffs, or recoupments to which the Ad Hoc Noteholders Group may be entitled,

in law or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are

expressly reserved.

Dated: New York, New York
       August 13, 2021                               TROUTMAN PEPPER
                                                     HAMILTON SANDERS LLP

                                                     By: /s/ Alissa K. Piccione
                                                        David A. Pisciotta
                                                        Alissa K. Piccione
                                                        875 Third Avenue
                                                        New York, NY 10022
                                                        Tel.: (212) 704-6000
                                                        Fax: (212) 704-6288
                                                        Email: David.Pisciotta@troutman.com
                                                               Alissa.Piccione@troutman.com

                                                     Counsel to the Ad Hoc Noteholders Group




                                                 3
118551806v1
